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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


                                   )
FRANCESCA GINO,                    )
                                   )
            Plaintiff,             )
      v.                           )
                                   )
PRESIDENT AND FELLOWS OF           )                Case No. 1:23-cv-11775-MJJ
HARVARD COLLEGE, SRIKANT DATAR, )
URI SIMONSOHN, LEIF NELSON, JOSEPH )
SIMMONS, JOHN DOES 1-10, AND JANE )
DOES 1-10,                         )
                                   )
            Defendants.            )
                                   )
                                   )
                                   )

                         DECLARATION OF JENNY K. COOPER

I, Jenny K. Cooper, hereby declare:

       1.      I am an attorney at the law firm of Ropes & Gray LLP and counsel for Defendants

President and Fellows of Harvard College and Srikant Datar (“Harvard”).

       2.      I respectfully submit this Declaration in support of Harvard’s Partial Motion to

Dismiss Plaintiff’s Amended Complaint filed with the Court contemporaneously herewith.

       3.      Attached hereto as Exhibit 1 is a true and correct copy of Harvard Business

School’s Principles and Procedures for Responding to Matters of Faculty Conduct.

       4.      Attached hereto as Exhibit 2 is a true and correct copy of an article entitled “Does

‘could’ lead to good? On the road to moral insight,” authored by Ting Zhang, Francesca Gino,

and Joshua D. Margolis, published on June 22, 2018, and available publicly at http://www.ting-

zhang.com/uploads/2/1/7/3/21738392/zhang_gino_margolis_2018.pdf.
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       5.        Attached hereto as Exhibit 3 is a true and correct copy of an article entitled

“Budging beliefs, nudging behavior,” authored by Oliver P. Hauser, Francesca Gino, and

Michael     I.   Norton,     published   on   March     13,   2019,     and    available    publicly   at

https://doi.org/10.1007/s11299-019-00200-9.

       6.        Attached hereto as Exhibit 4 is a true and correct copy of an article entitled

“Feeling authentic serves as a buffer against rejection,” authored by Francesca Gino and Maryam

Kouchaki,        published     on    March     31,      2020,     and     available        publicly    at

https://static1.squarespace.com/static/55dcde36e4b0df55a96ab220/t/5ec3f9dd3eb0ce7dd704b71

0/1589901792051/Gino+and+Kouchaki+2020+-+Feeling+authentic+serves+as+a+buffer.pdf.

       7.        Attached hereto as Exhibit 5 is a placeholder for a true and correct redacted copy

of the final report of the HBS investigation committee regarding the allegations against Plaintiff,

entitled “Confidential Memorandum Re: Final Report of Investigation Committee Concerning

Allegations Against Professor Francesca Gino – Case RI21-001,” dated March 7, 2023, and

attachments thereto, which Harvard seeks leave to file publicly, despite Plaintiff’s opposition, in

its concurrently filed Motion for Leave to File Partially Under Seal.

       I declare under penalty of perjury that the foregoing is true and correct.

Dated: October 10, 2023                              Respectfully submitted,


                                                     /s/ Jenny K. Cooper
                                                     Jenny K. Cooper (BBO# 646860)
                                                     Ropes & Gray LLP
                                                     800 Boylston Street
                                                     Boston, MA 02199-3600
                                                     Tel: (617) 951-7000
                                                     Jenny.Cooper@ropesgray.com

                                                     Counsel for Defendants President and
                                                     Fellows of Harvard College and Srikant
                                                     Datar



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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 10, 2023, this document, filed through the CM/ECF

system, will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing (NEF) and paper copies will be sent to those indicated as non-registered

participants.



Dated: October 10, 2023
                                                 /s/ Jenny K. Cooper
                                                 Jenny K. Cooper




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